     Case 2:22-cv-07197-PA-KK Document 17 Filed 02/16/23 Page 1 of 1 Page ID #:49


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-7197 PA (KKx)                                          Date    February 16, 2023
 Title             GS Holistic, LLC v. Royal Distribution Group, Inc. et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                         N/A
                 Deputy Clerk                             Court Reporter                      Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                None
 Proceedings:                 Order to Show Cause Re: Dismissal For Lack Of Prosecution

       Generally, defendants must answer the complaint within 21 days after service (60 days if
the defendant is the United States). Fed. R. Civ. P. 12(a)(1).

        In the present case, it appears that this time period has not been met. Accordingly, the
court, on its own motion, orders plaintiff to show cause in writing on or before February 24,
2023, why this action should not be dismissed for lack of prosecution. Pursuant to Rule 78 of
the Federal Rules of Civil Procedure, the court finds that this matter is appropriate for
submission without oral argument. The Order to Show Cause will stand submitted upon the
filing of plaintiff’s response. Failure to respond to this Order may result in the imposition of
sanctions, including but not limited to dismissal of the complaint.

         IT IS SO ORDERED.




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
